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 Sikorsky CH-53E Super Stallion Wikipedia, the free encyclopedia
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 Sikorsky CH-53E Super Stallion
 From Wikipedia, the free encyclopedia

  The Sikorsky CH-53E Super Stallion is the largest
  and heaviest helicopter in the United States military.                CH-53E Super Stallion
  It was developed from the CH-53 Sea Stallion,                          MH-53E Sea Dragon
  mainly by adding a third engine, a seventh blade to
  the main rotor and canting the tail rotor 20 degrees.
  Sailors commonly refer to the Super Stallion as the
   Hurricane Maker because of the downwash the
 helicopter generates. It was built by Sikorsky
 Aircraft for the United States Marine Corps. The less
 common MH-53E Sea Dragon fills the United
 States Navy’s need for long range mine sweeping or
 Airborne Mine Countermeasures (AMCM) missions,
 and perform heavy-lift duties for the Navy. The CH
 53E/MH-53E are designated “S-80’ by Sikorsky.
 Currently under development is the CH-53K, which
 will be equipped with new engines, new composite
 rotor blades, and a wider cabin.                           CH-53Es from HMM-264 prepare to take off from
                                                                        USS Bataan (LHD-5)
                                                                 Role       Heavy-lift cargo helicopter
  Contents                                                  Manufacturer Sikorsky Aircraft

      a I Development                                        First flight   1 March 1974
             a 1.1 Background                               Introduction    1981
             a l.2H-53E
             a 1.3 CH-53K                                       Status      In service
     a   2 Design                                           Primary users United States Marine Corps
     a   3 Operational history                                            United States Navy
             a 3.1 1980s
                                                                          Japan Maritime Self-Defense
             a 3.2 1990s
             a 3.3 2000s                                                    Force
     •   4 Operators                                        Number built 234
     a   5 Accidents and notable incidents
     a   6 Specifications (CH-53E)                            Unit cost     US$24.36 million (1992) average
                                                                            [I]
     a   7 Notable appearances in media
     a   8Seealso                                          Developed from Sikorsky CH-53 Sea Stallion
     a   9 References                                      Developed into Sikorsky CH-53K Super Staflion
     a   10 External links




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